861 F.2d 722
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Charles D. VASSEUR, Plaintiff-Appellant,v.Otis R. BOWEN, Secretary of Health &amp; Human Services,Defendant-Appellee.
    No. 87-2051.
    United States Court of Appeals, Sixth Circuit.
    Nov. 7, 1988.
    
      Before KRUPANSKY and RALPH B. GUY, Jr., Circuit Judges;  and RONALD E. MEREDITH, District Judge.*
      PER CURIAM.
    
    
      1
      Charles D. Vasseur (Vasseur), the plaintiff-appellant, has appealed the decision of the district court in this action to review the determination of the Secretary of Health and Human Services (Secretary), denying the appellant's application for supplemental security benefits.  Upon reviewing the Magistrate's Findings of Fact, Conclusions of Law, and Recommendations de novo, the district court granted the Secretary's motion for summary judgment, thereby affirming the denial of Vasseur's application.
    
    
      2
      A review of the appellant's assignments of error, the briefs of the parties and the arguments of counsel demonstrates that there was substantial evidence to support the Secretary's denial of supplemental security benefits.  Accordingly, the grant of summary judgment in favor of the Secretary is AFFIRMED for the reasons stated by the magistrate in his Findings of Fact, Conclusions of Law, and Recommendations as adopted by the district court in its order.
    
    
      
        *
         Hon.  Ronald E. Meredith, United States District Judge for the Western District of Kentucky, sitting by designation
      
    
    